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                                          #13477



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

JANIAH MONROE, MARILYN MELENDEZ,                  )
LYDIA HELENA VISION,                              )
SORA KUYKENDALL, and SASHA REED,                  )
                                                  )
               Plaintiffs,                        )
                                                  )
       - vs-                                      )           No. 18-156-NJR
                                                  )
LATOYA HUGHES, MELVIN HINTON,                     )
and STEVEN BOWMAN,                                )
                                                  )
               Defendants.                        )

                JOINT REPORT IN RESPONSE TO ORDER AT DOC. 552

   The Parties, by and through their respective attorneys, provide the following joint report in

response to the Court’s order entered April 4, 2023, at Doc. 552:

    1. The parties and Co-Monitors met via Zoom on April 19, 2023, at 2:00 p.m. CST to

discuss the topics as to which the Court had directed the parties and Co-Monitors to confer in the

April 4 Order. The meeting lasted until approximately 3:45 p.m.

    2. The parties and Co-Monitors discussed the procedure for transfer consideration by the

TAC. Defendants’ counsel explained that for an individual to be considered for transfer by the

TAC, a treating mental health provider is tasked with adding the individual to the Committee

schedule and for submitting supporting documentation. The process is the same for re-presenting

an individual who was previously denied. There is currently no backlog sitting with TAC and no

individuals in custody were presented by a facility provider or added to the schedule for the

March 2023 meeting. The parties and Co-Monitors discussed the possibility of having the TAC

reach out to the mental health providers if an individual is to be re-presented to inquire about

their status and to get them back on the schedule if they wish to proceed with re-presentment.



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This is under consideration by IDOC administrators. (Dr. Puga, Defendants’ designated “point

person” on transfers, was unable to attend this meeting.) Plaintiffs’ counsel noted that the process

for re-presentation should be automatic and proposed an automatic 6-month outreach to the

mental health providers who are the gatekeepers for this process. In addition, after the meeting,

Plaintiffs consulted the Court’s past orders and note that the Court’s August 9, 2021 Order

directed that any class member “evaluated and denied transfer” must be “promptly provided with

a written explanation of each reason for the denial and allowed to request another evaluation for

transfer within 180 days thereafter.” Doc. 384 at 4. Plaintiffs would therefore suggest that the

“written explanation” currently provided to class members (a short letter from TAC) also contain

an explicit statement advising the class member of the right to request another evaluation within

180 days and specify the method for doing so. Finally, Plaintiffs noted that it is not clear that

class members have any knowledge, apart from being advised on an ad hoc basis by mental

health providers, of the right to seek transfer. Monitor julie graham emphasized the importance

of including this information in the “toolkit” for class members.

     3. The parties and Co-Monitors also discussed procedures for transfers of any class member

from a facility where they are not provided with a private shower or that fails to comply with the

search procedures. [Doc. 522, 7.c. & 8.b.]. The parties and Co-Monitors wish to discuss this

further with the Court, as it is not clear whether there must be an actual finding of non-

compliance before a transfer could take place. Defendants note that it is also not clear who would

make such a finding. Further, there is concern that this aspect could create chaos and confusion if

prisoners are transferred from a facility where they prefer to be. Monitor julie graham noted that

violations of the shower and search requirements are time-intensive and complicated to

investigate and can sometimes be rectified promptly by the facility after discussion with julie




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graham. julie graham requested notification from Plaintiffs’ counsel of search violations as well

as shower violations (as currently required by Court order) and Plaintiffs’ counsel committed to

providing these.

Respectfully submitted,
s/ Camille E. Bennett (with consent)                 By: s/Lisa A. Cook
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION
JANIAH MONROE, MARILYN MELENDEZ,               )
LYDIA HELENA VISION,                           )
SORA KUYKENDALL, and SASHA REED,               )
                                               )
              Plaintiffs,                      )
                                               )
      - vs-                                    )           No. 18-156-NJR
                                               )
ROB JEFFREYS, MELVIN HINTON,                   )
and STEVEN BOWMAN,                             )
                                               )
              Defendants.                      )

                                  CERTIFICATE OF SERVICE

      I hereby certify that on April 25, 2023, the foregoing document, JOINT REPORT IN
RESPONSE TO ORDER AT DOC. 552, was electronically filed with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to the following:

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              And all other counsel of record

                                                   s/ Lisa A. Cook
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